                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )       DOCKET NO: 3:17-CR-185-MOC-DSC
       V.                                      )
                                               )       ORDER
                                               )
PAUL ALBERT KNAPEN,                            )
___________________________________            )

        This matter is before the Court on its own Motion to administratively close the case as to

Paul Albert Knapen. The defendant appears to remain a fugitive with no activity taking place

in this case in recent times.

        It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



                                         Signed: October 20, 2020




       Case 3:17-cr-00185-MOC-DCK Document 4 Filed 10/20/20 Page 1 of 1
